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EXHIBIT B
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Staie of California , . Department of Corrections and Rehabilitation. :

Memorandum

Date : September 12, 2012

To : Associate Directors — Division of Adult Institutions
Wardens

Subject: USE OF CHEMICAL AGENTS DURING CONTROLLED USE OF FORCE
SITUATIONS AND REVIEW OF USE OF FORCE INCIDENTS

The purpose of this memorandum is to reiterate expectations relative to the use of
force.

The Department Executive Review Committee (DERC) recently reviewed incidents
involving the controlled use of force during cell extractions. The review highlighted
the need to clarify expectations with regard to the application of Oleoresin Capsicum _
(OC) products during controlled use of force situations.

Although policy does not restrict the amount or number of applications of OC product
used, it is my expectation during controlled use of force situations that sufficient time
is provided between applications to allow the product to be effective. Should it
become evident the application of OC products are not effective, rather than
continued deployment of chemical agents; alternate use of force options shall be
considered. Incident Commanders and on-site managers must utilize their
knowledge, training and experience, as well as exercise common sense in choosing
the appropriate use of force option during these-situations.

Additionally, these same DERC reviews highlighted incidents wherein the actions of
staff were not in compliance with current policy, yet the issues were not identified nor
addressed until reaching the Second Level Manager Review, or In some cases, the
Institution Executive Review Committee. It is my expectation that the review process
at all levels be thorough and meaningful, and staff involved in reviewing use of force
incidents are, sufficiently knowledgeable in current policy, Department Operations re
Manual, Chapter 5, Article 2, Section 51020, in order to identify and address actions
which may not be in compliance with policy. It should not require upper level review oS
to identify training or non-compliance issues. Additionally, it is my expectation that
any significant non-compliance issue be referred for investigation.

To assist in clarifying expectations, | ask that Wardens provide On the Job Training
(OJT) to all Incident Commanders and managers with regard to. the above
expectations. Proof of practice of the required OJT is to be provided to the respective
Associate Director no jJater than October 12, 2012. If you have any questions or
concerns relative to this diréctive, please contact your Mission's Associate Director.

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Associate Directors — Division of Adult Institutions
Wardens
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Thank you for your consideration and attention in this matter.

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Deputy Director, Facitity Operations
Division of Adult Operations

cc: Terri McDonald, Undersecretary’
Kathleen Dickinson, Director - DAI
Kathleen Allison, Deputy Director (A), Facility Support — DAI

